         Case 2:21-cv-02303-ER Document 19 Filed 07/22/22 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF PENNSYLVANIA
_______________________________
                                 :
Hakeem Moore,                    :
                                 :            2:21-cv-2303-ER
                   Petitioner,   :
                                 :        Hon. Eduardo C. Robreno
                   v.            :        United State District Judge
                                 :
Eric Tice, Superintendent, SCI   :         Hon. Pamela A. Carlos
Somerset,                        :      United States Magistrate Judge
                                 :
                   Respondent.   :
______________________________ :

                                JOINT STATUS REPORT

      On June 2, 2022, this Court set August 31, 2022 as the deadline for

Petitioner’s motion to amend and proposed amendment to his habeas petition and

ordered the parties to submit a joint status report on or before July 29, 2022. ECF#

16. This is the parties’ status report.

      As previously noted, Petitioner, by counsel, scanned additional discovery

from counsel for the Respondents, the Philadelphia County District Attorney’s

Office (DAO), concerning the alternative suspect identified in discovery disclosed

on March 28, 2022. ECF# 18, 1–2. As of the filing of the parties’ June 30, 2022

Joint Status Report, Petitioner was still awaiting the DAO’s disclosure of that

discovery. Id. at 2.




                                          1
         Case 2:21-cv-02303-ER Document 19 Filed 07/22/22 Page 2 of 3




      On July 8, 2022, the DAO disclosed that discovery to Petitioner. Petitioner is

now in the process of reviewing that discovery and preparing a motion to amend and

proposed amendment to his habeas petition.

Respectfully Submitted,

Jon Cioschi                                  ADA Peter Andrews
WISEMAN & SCHWARTZ, LLP                      PHILA. DISTRICT ATTORNEY’S OFFICE
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Counsel for Petitioner                       Counsel for Respondent
Hakeem Moore                                 Eric Tice

Dated:      July 22, 2022




                                         2
         Case 2:21-cv-02303-ER Document 19 Filed 07/22/22 Page 3 of 3




                      UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF PENNSYLVANIA
_______________________________
                                 :
Hakeem Moore,                    :
                                 :            2:21-cv-2303-ER
                   Petitioner,   :
                                 :        Hon. Eduardo C. Robreno
                   v.            :        United State District Judge
                                 :
Eric Tice, Superintendent, SCI   :         Hon. Pamela A. Carlos
Somerset,                        :      United States Magistrate Judge
                                 :
                   Respondent.   :
______________________________ :

                                CERTIFICATE OF SERVICE

      I, Jon Cioschi, hereby certify that on this 22nd day of July, 2022, I served a

copy of the above Joint Status Report upon the following by filing the same through

this Court’s Electronic Filing System:

                                     Peter Andrews
                               Assistant District Attorney
                                 Federal Litigation Unit
                         Philadelphia District Attorney’s Office

Respectfully submitted,

Jon Cioschi
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Counsel for Petitioner
Hakeem Moore
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